                                             ISO 8217:2010

                                                                   June 2010




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INTERNATIONAL                                               ISO
STANDARD                                                   8217

                                                          Fourth edition
                                                            2010-06-15




Petroleum products� Fuels (c�ass F) -
Specifications of marine fuels

Produits petro/iers- Combustibles (classe F) - Specifications des
combustibles pour Ia marine




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-�-
                                                    Reference number
                                                    ISO   8217:2010(E)

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      ISO 8217:2010(E) .




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Foreword

ISO (the International Organization for Standardization) is a worldwide federation of national standards bodies
(ISO member bodies). The work of preparing International Standards is normally carried out through ISO
technical committees. Each member body interested in a subject for which a technical committee has been
established has the right to be represented on that committee. International organizations, governmental and
non�governmental, in liaison with ISO, also take part in the work. ISO collaborates closely with the
International Electrotechnical Commission (IEC) on all matters of electrotechnical standardization.

International Standards are drafted In accordance with the rules given in the ISO/IEC Directives, Part 2.

The main task of technical committees is to prepare International Standards. Draft International Standards
adopted by the technical committees are circulated to the member bodies for voting. Publication as an
International Standard requires approval by at least 75 % of the member bodies casting a vote.

Attention is drawn to the possibility that some of the elements of this document may be the subject of patent
rights. ISO shall not be held responsible for identifying any or all such patent rights.

ISO 8217 was prepared by Technical Committee              ISO/TC 28,    Petroleum products and lubricants,
Subcommittee SC 4, Classifications and specifications.

This fourth edition cancels and replaces the third edition (ISO 8217:2005), which has been technicalfy revised.
                                                                                               ISO 8217:2010{E)




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 Introduction

0.1     General

The specifications in this International S tandard were prepared in co-operation with ship owners, ship
operators, shipping associations, national standards bodies, classification societies, fuel testing services,
engine designers, fuel suppliers and the petroleum industry to m eet the requirements for fuels supplied on a
world-wide basis for consumption on board ships. Crude oil supplies, refini ng m ethods, ships' machinery,
e nvironmental legislation and local conditions vary considerably. These factors h ave led h istorically to a large
number of categories of residual fuels b�ing available internationally, even thoug h locally or nationally there
can be relatively few categories available.

0.2     Classification

The categories of fuel in this International Standard h ave been classified in accordance with ISO 821 6-1.

0.3     International statutory requirements

This International Standard takes into account the SOLAS Convention£11 in respect of the allowable m inimum
flash point of fuels.

The Revised MARPOL Annex VIl2l, which controls air pollution from ships, i ncludes a requirement either that
the fuel not exceed specified maximum sulfur content or that an approved equivalent alternative be used.
During t h e lifetime of this International S tandard, regional and/or national bodies can i ntroduce their own local
emission requirements, which can im pact the allowable sulfur content, for example EU Sulfur Directive13J. It is
the users' responsibility to establish the requirement to com ply with such statutory requirements and to specify
the maximum sulfur content of the fuel to the supplier.

0.4     Changes from ISO 3217:2005

This fourth edition of this International Standard reflects several important and significant changes. These
include category rationalizations of both distillate and residual fuels and substantial amendments to C lause 5.
These changes reflect market demand, recognize regulatory developments and current industry experiences
with the use of fuels.

The limits contained i n Tables 1 and 2 now reflect the test method reporting requirements. For example,
viscosity limits are given to four sig nificant figures.

a)    Changes to the distillate fuels (4 categories) include the following.

          An additional grade, DMZ, h as been added with a minimum viscosity of 3,000 mm 2fs at 40 oc, but is
          otherwise identical in its ch aracteristics to the DMA.

          The previous DMC category has been modified and moved to Table 2 as RMA10.

          Specifications for the following cl1aracteristics h ave !Jeen added to Table ·J: hydrogen sulfide, acid
          number, oxidation stability and lubricity.

          The minimum viscosity requirement for DMA has been raised to 2, 000 mm2fs.

          A minimum viscosity requirement of 2,000 mm2/s has been added for DMB.

          The specifications for the "appearance" ch aracteristic in Table 'I have been amended.
         ISO 8217:2010(E)



         b)   Changes to the residual fuels (6 categories) include the following.


                  RMA 10 has been added.

                  RMG and RMK have been expanded to include additional viscosity grades.

                  RMF and RMH categories have been removed.

                  To Table 2 have been added the Calculated Carbon Aromaticity Index (CCAI) and specifications for
                  the following characteristics: hydrogen sulfide, acid number and sodium content.

                  Sulfur limits have not been tabulated, as these are controlled by statutory requirements. See 0.3 and
                  Annex c.

                  Potential Total Sediment (TSP) has been assigned as the reference test method. Accelerated Total
                  Sediment (TSA) has been added as an alternative test method.

                  Ash limit values have been reduced for many of the categories.


                  Vanadium limit values have been reduced, with the exceptions of those for RMB 30 where the limit
                  value is unchanged and for RMG 380 where the limit value has been slightly Increased.

                  Aluminium-plus-silicon limit values have been reduced.

                  The criteria for assessing whether a fuel contains used lubricating oil have been amended.

         c)   Changes to the informative annexes include the following.

('   .                                                               .
                  Amendments have been made to a number of the annexes.


                  Annex C of the previous edition, dealing with viscosity conversions, l1as been deleted.

                  The equations dealing with specific energy in Annex E of this new edition have been revised and a
                  gross specific energy equation for distillate fuel has been added.

                  Four new annexes have been added:

                      Annex A, dealing with bio-derived prodL!cts;

                      Annex B, dealing with deleterious materials;

                      AnnelC C, dealing with sulfur content;

                      Annex D, dealing witll hydrogen sulfide.




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INTERNATIONAL STANDARD                                                                                ISO 8217:2010(E)




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Petroleum products- Fuels (class F)- Specifications of
marine fuels



WARNING- The handling and usa of products as specified in til is lntern&tional Standard can be
hazardous, if suitable precautions are not observed. This International Standard does not purport to
address all of the safety and health considerations that can be associated with its use. It is the
responsibility of the users of this International Standard to establish appropriate safety and health
practices and determine the applicability of regulatory limitations prior to use.



1    Scope

This International Standard specifies the requirements for petroleum fuels for use in marine diesel engines
and boilers, prior to appropriate treatment before use. The specifications for fuels in this International
Standard can also be applicable to fuels for stationary diesel engines of the same or similar make and type as
those used for marine purposes.

This International Standard specifies four categories of distillate fuel, one of which is for diesel engines for
emergency purposes. ft also specifies six categories of residual fuel.

NOTE 1      For the purpose of this International Standard, the term "petroleum" is used to include oil from tar sands and
from shale.


NOTE 2    Appropriate guidance about fuel treatment systems for diesel engines is published by the International Council
on Combustion Engines (CIMAC)l4J.


NOTE 3      Requirements for gas turbine fuels used in marine applications are specified in ISO 4261 [5J.


NOTE 4    For the purposes of this International Standard, the ferms "mass%" and "volume%" are used to represent the
mass and volume fractions respectively.




The ·following referenced documents are indispensable for t11e application of thi s document. For dated
references, only the edition cited applies. For und ated references, the latest edition of the referenced
document (including any amendments) applies.

ISO 91-1:1992, Petroleum measurement tables- Part 1: Tables based on reference temperatures of 15 ·c
and 60 •p

ISO 2719:2002, Determination of flash point- Penstw-Martens closed cup method

ISO 3015:1992, Petroleum products          Determination of cloud point

ISO 3016:1994, Petroleum products- Determination of pour point

ISO 3104:1994, Petroleum products- Transparent and opaque liquids- Determination of kinematic
viscosity and calculation of dynamic viscosity
                                                                                                                             (
ISO 3675:1998, Crude petrofeum and liquid petroleum products- Laboratory determination of density-
1-Jydrometer method
ISO 8217:201 O(E)




ISO 3679:2004, Determination of flash point- Rapid equilibrium closed cup method


·JSO 3733:1999, Petroleum products and bituminous materials- Determination of water- Distillation method


ISO 4259:2006, Petroleum products- Determination and application of precision data in relation to methods
of test

ISO 4264:2007 , Petroleum products- Calculation of cetane index of middle-distillate fuels by the four­
variable equation

ISO 6245:2001, Petroleum products-::- Determination of ash

ISO 8216-1 :2010, Petroleum products- Fuels (class F) classification- Part 1: Categories of marine fuels

ISO 8754:2003, Petroleum        products-     Determination    of   sulfur   content-    Energy-dispersive X-ray
fluorescence spectrometry

ISO 10307-1:2009, Petroleum products- Total sediment in residual fuel oils- Part 1: Determination by hot
filtration

ISO 10307-2:2009, Petroleum products- Total sediment in residual fuel oils- Part 2: Determination using
standard procedures for ageing

ISO 10370:1993, Petroleum products- Determination of carbon residue- Micro method


ISO 10478:1994, Petroleum products- Determination of aluminium and silicon in fuel oils- .fnductively
coupled plasma emission and atomic absorption spectroscopy methods

.lSO 12156-1:2006, Diesel fuel- Assessment of           lubricity using the high-frequency reciprocating rig
 {HFRR)- Part 1:Test method

ISO 12185:1996, Crude petroleum and petroleum products- Determination of density- Oscillating U-tube
method

ISO 12205:1995, Petroleum products- Determination of the oxidation stability of middle-distillate fuels

ISO 12937:2000, Petroleum products__; Determination of water- Coulometric Karl Fischer titration method

ISO 13739:20'1 0, Petroleum products- Procedures for transfers of bunkers to vessels

ISO 14596:2007, Petroleum products- Determination of sulfur content- Wavelength-dispersive X-ray
fluorescence spectrometry

ISO 14597:1 999, Petroleum products- Determination of vanadium and nickel content- Wavelength­
dispersive X-ray fluorescence spectrometry

EN 14078:2009, Liquid petroleum products- Determination of fatty acid methyl ester (FAME) content in
middle distillates- Infrared spectrometry method

EN 14214, Automotive fuels- Fatty acid methyl esters (FAME) for diesel engines- Requirements and test
methods

IP 470:2005, Determination of aluminium, silicon, vanadium, nickel, iron, calcium, zinc and sodium in residual
fuel oil by ashing, fusion and atomic absorption spectrometry

I P 500 :2003, Determination of the phosphorus conlent of residual fuels by ultra-violet spectrometry

IP 501:2005, Determination of aluminium, silicon, vanadium, nickel, iron, sodium, calcium, zinc and
phosphorus in residual fuel oil by ashing, fusion and inductively coupled plasma emission spectrometry
                                                                                              ISO 821 7:2010(E)




IP 570:2009, Determination of hydrogen sulfide in fuel oils- Rapid liquid phase extraction method

ASTM 0664-09, Standard Test Method for Acid Number of Petroleum Products by Potentiometric Titration

ASTM 06751, Standard Specification for Biodiese/ Fuel Blend Stock (B 1 00) for Middle Distilla te Fuels

LEWIS, C.P.G; ScHENK, C.; STASSEN, W.J.M., Ignition quality of residual fuel oils, Conference paper in
Proceedings of the 22nd CIMAC International Congress on Combustion Engines, Volume 2, Copenhagen, OK,
May 18-21, 19981)


3     Application

This International Standard s pecifies the required properties for fuels at the time and place of custody transfer.
Samples for quality verification may be taken in any location agreed between the parties.


4     Sam p l ing

The sampling of petroleum fuels for analysis shalf be carried out in accordance with the procedures given in
ISO 13739 or an equivalent national standard. Where specific sampling requirements are documented in the
referenced test methods, these s hall be adhered to.


5     General requirements

5.1   The fuel shall conform to the characteristics and limits given in Table 1 or Table 2, as appropriate, when
tested in accordance with the methods specified.                                                                      (
                                                                                                                      \.

5.2 The fuel shall be a homogenl;'lous blend of hydrocarbons derived from petroleum refining. This shall not
preclude the incorporation of additives intended to improve some aspects of the fuel's characteristics and
performance. The fuel shall be free from inorganic acids and used lubricating oils.

5.3     Fuels shall be free from any material that renders the fuel unacceptable for use in marine applications.

5.4 The fuel shall be free from bio-derived materials other than 'de minimis' levels of FAME (FAME shall be
in accordance with the requirements of EN 14214 or ASTM 06751). In the context of this International
Standard, "de minimis" means an amount that does not render the fuel unacceptable for use in marine
applications. The blending of FAME shall not be allowed.

NOTE         See Annex A.


5.5 The fuel shall not contain any additive at the concentration used in the fuel, or any added substance or
chemical waste that

a) jeopardizes the safety of the ship or adversely affects the performance of the machinery; or

b)    is harmful to personnel; or

c)    contributes overall to additional air pollution.

NOTE        See Annex B.




1) This paper describes the CCAI calculation and is available from www.cimac.com.
 ISO 821 7:201 0(E)




 6     New requirements

 6.1     Requirements for distillate and residual fuels

a)     The hydrogen sulfide, H2S, concentration shall be as specified in Table 1 or Table 2.


NOTE          H2S is a highly toxic gas. Exposure to high vapour concentrations is hazardous and in extreme cases can be
fatal. It is critical that ship owners, operators and other responsible parties continue to maintain appropriate safety
practices designed to protect the crew and others who can be exposed to H2S; see Annex D.


 b)    Acidity shall be as specified in Table 1 or Table 2.

NOTE          Acid number limits are included in this International Standard; see Annex H.


6.2      Requirements for distillate fuels

a)     Oxidation stability shall be as specified in Table     1.

NOTE         The refinery processes used to manufacture distillate fuels can lead to products thai can have limited
oxidation stability. In addition, today's non-marine distillate fuels can contain a significant amount, for example in some
areas currently 5 volume% to 7 volume%, of bio-derived products i.e., fatty acid methyl esters (FAMEs) that can impact
on the oxidation stability of the fuel. Furthermore, the transportation of pure distillate fuel and distillate fuel containing bio­
derived material (FAME), especially through multi-product pipeline installations, have shown that some FAME is
transferred into the pure distillate fuel; see Annex A.


b)     The lubricity shall be as specified in Table 1.

NOTE           A lubricity requirement has been included in this International Standard and is applicable to clear and bright
:listillate fuels with a sulfur content below 500 mg/kg (0,050 mass %). The lubricity limit is based on the existing
requirements for high-speed automotive and heavy-duty Industrial diesel engines.


6.3      Requirements for residual1uels

a)     Ignition characteristics, as determined by the Calculated Carbon Aromaticity Index (CCAI), shall be as
       s pecified in Table 2.

NOTE 1     CCAI, an indication of ignition performance, has been added in Table 2 in order to avoid fuels with
uncharacteristic density-viscosity relationships. For a determination of CCAI, see Annel< F.


NOTE 2       For engines and/or applications where tile ignition quality is known to be particularly critical, Annex F provides
a basis for suppliers and purchasers of residual fuels to agree on tighter ignition quality characteristics.


f\IOTE 3   For RME 180 and RMK 380, when blending at or close to the maximum density, the CCAII!mit can restrict tile
combination of density and viscosity.


b)     The sodium concentration shall be as specified in Table         2.

NOTE        A limit for sodium content has been included due to concerns regarding tile infltlences of metals in fuels on
ash deposition and high-temperature corrosion. Information on the subject is given in AnnelC I.




1      Test methods

7.1     Density
When density is determined in accordance with ISO 3675, the Iwdrometer readings obtained at ambient
temperature for distillate fuels, and at elevated temperatures of between 50 oc and 60 oc for fuels containing
residual components, shall be converted to results at 15 oc using ISO 91 1:1992, Table 53B. When density is
                                                                                      �


determined in accordance with ISO 12185, an appropriate correction for the glass expansion coefficient s h all
                                                                                                  ISO 821 7:2010(E}



 be applied to readings obtained by a digital density analyser at any temperature other than 15 oc, before
 conversion and application of ISO 9 1 - 1 : 1 992, Table 538.

 The reference test method shall be ISO 3675.


 7.2     Sulfur content

 The reference test method shalf be ISO 8754.

 In the event of a dispute concerning sulfur content, all parties shall agree, p rio r to testing, upon the same
 sulfur certified reference material.

 NOTE         See Annex G.

 7.3     Flash point

The flash point for fuels in Table 1 shall be determined in accordance with ISO 2719:2002, Procedu re A If the
flash point result of DMX is less than 40 oc, it shall be determined in accordance with ISO 3679.

The flash point of fuels in Table 2 shall be determined in accordance with ISO 2719:2002, P roc ed ure       B.

NOTE          See Annex G.

7.4      Total sediment by hot filtration

If the appearance of DMB is assessed as not clear and bright (see 7.6), the total sediment shall be d etermined
by the test method ISO 10307-1, typically called total sediment existent.

7.5      Total sediment- Aged

Either of the standard procedures for ageing in ISO 1 0307�2 can be used; AcceleratedTotal Sediment (TSA)
or Potential Total Sediment test (TSP).

The reference test m etho d shall be the Potential Total Sediment test.


7.6     Appeamm:e

For distillate fuel, the appearance of a sample shall be assessed by visual inspection in good light, free from
glare and shadow, at a temperature between 1 0 "C and 25 oc.

       DMX, DMA or DMZ shall appear clear and bright. It has been reported that in some countries these
       grades of fuel are dyed (e.g., blacl"<) and not transparent. This affects the c omp li ance with the requirement
       for clear and bright appearance and, in such circumstances, the water content shalf not exceed
       200 mg/kg, as determined by the Cou!ometric Karl Fischer titration method in accordance with ISO 12937.

       If the appearance of DMB affords visual Inspection and appears clear and bright, then testing for total
       sediment by hot filtration and for water is not required.


7.7     Vamadium

The reference test metf1od shall be !P    501.
NOTE         See Annex I.

7,3     Sodium                                                                                                            (   '




The reference test method shall be I P 501 .

NOTE         See Annex I.
        ISO 821 7:2010(E)



        7.9 Aluminium plus silicon

(·   -The reference test method shall be I P 501.

        NOTE       SeeAnnexJ.

        7.10 Used lubricating oil (ULO)

        A fuel shall be free from ULO.

        I n the context of this I nternational Standard, a fuel shall be considered to contain ULO when combinations of
        calcium and zinc or calcium and phosphorus are above the specified levels; see Table 2.

        The reference test method shall be I P 501.

        NOTE       SeeAnnex K.


        8   Precision and interpretation of test results

     The test methods specified in Tables 1 and 2 all contain a statement of precision (repeatability a n d
     reproducibility). Tf1e determination of reproducibility for C CAI i s contained i n An nex F.

     ISO 4259:2006, which covers the use of precision data in the interpretation of test results, shall be used in
     cases of dispute. Information ab�ut p recision and interpretation of test results is also given in Annex L.
                                  1


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(
                                                                   Table 1   -Distillate marine fuels

                                                                                                         Category ISO-F-
                         Characteristics
                                                              I     Unit         Limit


                                                                                  max.
                                                                                             DMX

                                                                                            5,500
                                                                                                         DMA

                                                                                                         6,000
                                                                                                                        DMZ

                                                                                                                        6,000
                                                                                                                                     DMB

                                                                                                                                     11,00
                                                                                                                                                        Test method reference



Kinematic viscosity at 40 oca                                      mm2is                                                                                      IS03104
                                                                                  min.      1,400        2,000          3,000        2,000

                                                                                                                                                               see 7.1
Density at 15 oc                                                   kg/m3          max.        -          890,0          890,0        900,0
                                                                                                                                                        ISO 3675   or   ISO 12185

Cetane index                                                        -             min.        45           40            40           35                      IS04264

                                                                                                                                                               see 7.2
Suifurb                                                           mass%           max.       1,00         1,50          1,50         2,00                     IS08754
                                                                                                                                                             ISO 14596

                                                                                                                                                               see 7.3
Flash point                                                          oc           min.       43,0         60,0          60,0         60,0
                                                                                                                                                              JS02719

Hydrogen sulfidec                                                  mg/kg          max.       2,00         2,00          2,00         2,00                      !P 570

Acid number                                                       mg KOH/g        max.        0,5          0,5           0,5          0,5                    ASTMD664

                                                                                                                                                               see 7.4                    i
Total sediment by hot filtration                                  mass%           max.        -            -             -           0,1oe
                                                                                                                                                             ISO 10307-1
                                                                                                                                                                                          I
Oxidation stability                                                 gfm3          max.        25           25            25           25f                     ISO 12205

Carbon residue: micro method on the 10% volume distillation
                                                                  mass%           max.       0,30         0,30          0,30          -                       ISO 10370
residue

Carbon residue: micro method
                                                              I   mass%           max.        -            -             -           0,30                     !SO 10370

Cloud point                                                          oc           max.       -16           -             -            -                       ISO 3015

                                   winter quality                    oc                       ..           -6                                                 ISO 3016
             (upper)d
                                                                                  max.                                   -6            0
Pour point
                                   summer quality                    "C           max.        -e-           0             0            6                      ISO 3016

                                                                                                                                     e, f, g
Appearance
                                                              I      -             -                 Clear and brighd                                          see 7.6

Water                                                             volume%         max.        -            -             -           0,3oe                    IS03733                         (jj
                                                                                                                                                                                              0
Ash                                                                mass%          max.       0,010        0,010         0,010        0,010                    IS06245                     I   CIC
                                                                                                                                                                                              N



                                                              I
                                                                                                                                                                                              .....
Lubricity, corrected wear scar diameter
                                                                    llm           max.        520          520           520                                 ISO 12156-1                      :':I
(wsd 1 ,4) at 60 och                                                                                                                 5209
                                                                                                                                                                                              N
                                                                    -�       --     ----                                                       -- ...                                         Cl
                                                                                                                                                                                              .....
 --···--�
      ··· �-�-��---·-                               ��-�_                                            ---�-                      '-

                                                                                                                                                                                              Cl
                                                                                                                                                                                              m
                                                                                                                                                                                              -


           -�                                                                                                                                                                , ....-.-.
                                                                                                        .......




                                                                                         Talb!e i   (continued)                                                                                            en
                                                                                                                                                                                                           0
                                                                                                                                                                                                           OQ
                                                                                                                                 Category ISO-F-                                                           N
                            Chara,;teristics                                    Unit             Limit                                                                 Test method reference               ......
                                                                                                                  DMX
                                                                                                                             I   DMA
                                                                                                                                        l   DMZ
                                                                                                                                                   I   DMB                                                 -;;j
                                                                                                                                                                                                           N
                                                                                                                                                                                                           c
a    1 mm2/s = 1 eSt                                                                                                                                                                                       ....
                                                                                                                                                                                                           c
b                                                                       maximum sulfur content in accordance with relevant statutol)' limitations. See Annex C.
     Notwithstanding the limits given, the purchaser shall define the                                                                                                                                      §
c     Due to reasons stated in Annex D, the implementetion date for compliance with the limit shall be 1 July 2012. Until such time, the specified value is given for guidance. For distillate fuels the
precision data are currently being developed.

d     Purchasers should ensure that this pour point is suitable for the equipment on board, especiaUy if the ship operates in cold climates.

e     If the sample is not clear and bright, the total sediment by hot filtration and water tests shall be required, see 7.4 and 7.6.

f     If the sample is not clear and bright, the test cannot be undertaken and hence the oxidation stability limit shall not apply.

g     If the sample is not clear and bright, the test cannot be underta!;en and hence the lubricity limit shall not apply.

h    This requirement is applicable to fuels with a sulfur content below 500 mgfkg     (0,050 mass%).
j     If the sample is dyed and not transparent, then the water limit and test method as given in 7.6 shall apply.
                                             ----�----                                                                                                            �   -----
                                                                                 Tabie 2-       Residual marin. a fuels

                                                                                                                      Category 150-F- .
                                                                                                                                                                         Test method
          Characterisi:ic             ll rait       Umii         RrJlA   RMB     RMD      RME                      RMG                                 RMK
                                                                                                                                                                          reference
                                                                 1oa      30      80      180      180        380          500   700   380     500               700

Kinematic viscosity at 50 •cb         mm2fs         rna'<.       10,00   30,00 80,00      180,0    180,0     380 ,0 500, 0 700,0       380,0   500,0            70 0,0    JSO 3104

                                                                                                                                                                            see 7.1
Density at ·15 •c                     kg/m3         max.         920,0   960,0   975,0 991,0                       9 9 1 ,0                            1010,0            ISO 3675 or
                                                                                                                                                                          ISO 12185

CCAI                             I     -            max.         850     860      860     860                       870                                 870               see 6.3 a)

                                                                                                                                                                            see 7.2
Sulfur0                              mass %         max.                                                           Statutory requirements                                  ISO 8754
                                                                                                                                                                          ISO 14596


Flash point                            ·c       I   min.         60,0    60,0    60,0     60,0                      60,0                                60,0
                                                                                                                                                                            see 7.3
                                                                                                                                                                           ISO 2719

Hydrogen sulfided                     mg/kg         max.         2,00    2,00    2,00     2,00                      2,00                                2,00                IP570

                                       mg
Acid number"                                        max.          2,5     2,5     2,5      2,5                       2,5                                2,5              ASTMD664
                                      KOH/g


Total sediment aged                  mas s %        max.     I   0,10    0,10    0 ,1 0   0,10                      0,10                                0,1 0
                                                                                                                                                                           see 7.5
                                                                                                                                                                         ISO 10307-2
                                                                                                                                                                                       I
Carbon residue: micro   method       mass %         max.         2,50    10,00 14,00      15, 00                   18,00                               20,00              ISO 10370

Pour point
(upper)f
               winter quality
                                 I      ·c          max�           0       0      30       30                        30                                  30                ISO 3016

               summer quality           ·c          max.           6       6      30       30                        30                                  30                ISO 3016

Water                                volume %       max.         0,30    0,50     0,50    0,50                      0,50                                0,50               ISO 3733

Ash                                  mass%          max.         0,040 0,070 0,070 0,070                           0,100                               0,150               ISO 6245

                                                                                                                                                                            see 7.7
                                                                                                                                                                            IP 501,
Vanadium                              mgikg         max.          50      150     150      150                       350                                450
                                                                                                                                                                           IP 470 or       en
                                                                                                                                                                          ISO 14597        0
                                                                                                                                                                                           CIQ
Sodium                                mg/kg         max.          50      100     100      50                        100                                100                see 7.8         N
                                                                                                                                                                                           �
                                                                                                                                                                            IP 501         """
                                                                                                                                                                            IP470          i-.:l
                                                                                                                                                                                           0
                                                                                                                                                                                           �

                                                                                                                                                                                           .2
                                                                                                                                                                                           m
                                                                                                                                                                                           -

             :�                                                                                            -----
                                                                                                      ---r--.                                                                       -;�
                                                                                                        I

                                                                                       Table 2    (continued)                                                                                 en
                                                                                                                                                                                              0
                                                                                                                      Category IS O-F-
                                                                                                                                                                                              (XI
                                                                                                                                                                                              t-.:1
                                                                                                                                                                                Test method   ""-J
                                                                                                                                                                                              .....
         Characteristic                   Unit               RMA      RMB     RMD      RME                        RMG                                          RMK               reference
                                                    Limit
                                                                                                                                                                                              N
                                                                1oa    30       80      180     1so     1       380   1    5oo   1   100   380   1   500   1         700
                                                                                                                                                                                              Q
                                                                                                                                                                                              .....
                                                                                                                                                                                              Q

                                                                                                                                                                                  see 7.9     m
                                                                                                                                                                                              -

Aluminium plus silicon                   mg/kg       max.       25     40       40      50                            60                                       60                             -

                                                                                                                                                                                  IP 501,
                                                                                                                                                                                 IP 470 or
                                                                                                                                                                                 ISO 10478

Used lubricating oils (ULO):             mg/kg        -
                                                            The fuel shall be free from ULO. A fuel shall be considered to contain ULO when either one of the                     see 7.10
                                                            following conditions is met:                                                                                          !P501 or
                                                                                                                                                                                   IP470
    calcium and zinc; or                                          calcium> 30 and zinc> 15; or
    calcium and phosphorus                                        calcium > 30 and phosphorus > 15                                                                                 IP500

a   This category is based on a previously defined distillate   DMC category that was described in ISO 8217:2005, Table 1. ISO 8217:2005 has been withdrawn.
b   1 mm2/s=1cSt.
c
    The purchaser shall define the ma)dmum sulfur content in accordance with relevant statutor; limitations. See 0.3 and Annex C.
d   Due to reasons stated in Annex D, the [mplementation data for compliance with the limit shall be 1 July 2012. Until such time, the specified value is given for guidance.
e
    See Annex H.

f    Purchasers shall ensure that this pour point is suitable for the equipment en board, especially if the ship operates in cold climates.
                                                                                            ISO 8217:201 0{E)




                                                     Annex A
                                                   (informative)

           Bio-derived products and Fatty Acid Methyl Esters (FAMEs)




A. 1 Bio-fuels a nd b lends

Bio-derived fuels a nd blends of blo-derived fuels with petroleum products are included within the range of
potential alternative energy sources being considered by some sections of marine industry since they are
renewable and can resu lt in reduced G reen House Gases (GHGs) and so., emissions.

The bulk of bin-derived fuels currently available is the product of a transesterification process that removes the
glyceride fraction to produce fatty acid methyl esters (FAMEs), commonly referred to as bio-diesel. Bio-diesels
can also contain fatty acid ethyl esters, FAE Es, for which test methods and specifications are being developed.

Bin-derived fuels can also be produced by other process methods; however, there is no general broad
experience with regard to the application of any bio-derived fuels in marine systems and machinery. Hence,
this International Standard does not address this issue but does outline some of the issues that have been
encountered in other markets where bio-derived FAM E fuels have been mandated.

NOTE        FAME is   defined in EN   14214 and ASTM 06751.


Notwithstanding that FAME h as good ignition, lubricity p roperties and perceived environmental benefits, there
are potentially specific complications with respect to storage and handling In a marine environment such as
                                                                                                                     (
    a ten dency to oxidation and long-term storage issues;

     affinity to water and risk of microbial growth ;

    degraded low-temperature flow properties;

     FAME material deposition on exposed swfaces, including filter elements.

Additionally, there is a variety of different sourced FAME products each with its own particular characteristics
that have implications with res pect to storage, handling, treatment, engine operations and emissions.

In those instances where the use of fuels contain ing FAME is being contemplated, it should be ensured that
ihe ship's storage, handling, treatment, service and maci1ine1y systems, together with any other machinery
components (such as oily-water separator systems) are compatible wi(h such a product.

Tl1is International Standard specifically refers to petroleum-derived materials only, thereby excluding any bio­
derived materials. However, the practice of blending FAME into automotive diesel and heating oils mal<es it
almost inevitable, under current supply logistics, tllat some distillates supplied in the marine marl<et can
contain FAME. Even some residual fuels can contain FAI\J!E as a result of refinery processes or blending a
distillate cutterstock containing FAME.


A.2 Prec;aution.ary approach

A.2.1   As there is no generalized experience with respect to storage, handling, treatment and service
perfo rman ce {including overboard discharges) within the broad spectrum of the marine environment, adoption
of the precautionary principle to address any safety concerns in this area of using either b lends of
FAME/petroleum products or 100% FAM E is considered necessary. Furthermore, there are the issues as to
the potentia l effects of FAME products on the range of marine engines and other equipment [i.e. oily-water
    ISO 821 7:201 0(E)




    separators (OWS) or overboard discharge monitors (ODM)J currently in service. Therefore, this International
    Standard limits the FAME content to a "de minimis" level.
(
    NOTE       See 5.4.


    A.2.2   To date, determining a de minimis level is not straightforward given that

        a wide range of types of FAME products from different sources is available in the market place;

        varying levels of contamination can be present due to the use of common equipment or pipelines in
        refineries, fuel terminals o r other supply facilities;


        a wide range of different analytical techniques is used to detect these FAME products and associated by"
        products with no standardized approach;

        in most cases, sufficient data are not yet available with respect to the effects of FAME products on marine
        fuel systems.

    A.2.3   For the p urpose of this International Standard

        in the case of distillate fuels (DMX, DMA, DMZ and DM B when dear and brig ht), it is recommended that
        "de minimis" be taken as not exceeding approximately 0,1 volume % when determined in accordance with
        EN 1 4078.

        In the case of DMB when it is not clear and bright and all categories of residual fuels, "de minimis" cannot
        be expressed in numerical terms since no test method with formal precision statement is currently
        available. Thus, it should be treated as contamination from the supply chain system.


(   fuel producers and suppliers should ensure that adequate controls are in place so that the resultant fuel, as
    delivered, is compliant with the requirements of Clause 5 of this International Standard.
                                                                                                 ISO 8217:20 1 0(E) .




                                                    Annex B
                                                  (informative)

                                          Deleterious materials



This I nternational S tandard precludes the incorporation of deleterious materials as stipulated in Clause 5.
Such m aterials should not be present, mixed or blended in marine fuels.

Determining the harmful level of a material or substance is not straightforward g iven that

a)   each fuel is a unique, complex blend of hydrocarbon species;

b)   a wide range of m aterials from d ifferent sources can enter the marine supply chain from the production,
     handl ing and transport systems;

c)   varying levels of contamination can be present in the fuel d ue to the use of common equipment o r
     pipelines i n refineries, fuel terminals or other supply facilities;

d)   various analytical tech niques are used to detect these contaminants and specific chemical species with
     no standardized approach;

e)   in most cases, sufficient data are not available wi1h respect to the effects of any one specific contaminant,
     or combinations thereof, on the variety of m arine m achinery systems in service, personnel or upon the
     e nvironment.
                                                                                                                          I
It is, therefore, not practical to require detailed chemical analysis for each delivery of fuels beyond the               1.·
requireme nts listed in this I nternational Standard . I nstead, it i s required that a refinery, fuel terminal o r any
other supply facility, i ncluding supply barges and truck deliveries, h ave in place adequate qual ity assurance
and m anagement of change procedures to ensure that the resultant fuel is com pliant with the requirem e nts of
C lause 5 of this I nternational Standard with regard to the exclusion of deleterious m aterials.
    ISO 8217:2010(E)       ..




                                                      A nnex C
(                                                   (informative)

                                                  S ulfur content



    The fourth edition of this International Standard has retained the third edition's limits for sulfur for distHiate
    fuels, but does not include . l imits for residual fuels. Previously, such limits were included since the sulfur
    content acts to reduce the specific energy value and, given the appropriate post-combustion temperature
    conditions, can result in corrosion of susceptible components.

    Sulfur limits for distillate fuels in Table 1 were retained due to technical requirements to protect small, h igh­
    speed diesel engines.

    Statutory requirements, i.e. the Revised MARPOL Annex VI, either specify a maximum s ulfur content of t h e
    fuel being used or allow t h e adoption of technical solutions t o ensure compliance with the emission regulations
    for s ulfur oxides and particulate matter. Therefore, the sulfur content of both distillate and residual fuels i s
    directly controlled b y t h e statutory requirements.

    Consequently, the purchaser's responsibility is to define th e maximum s ulfur content of the fuels in
    accordance with the s h ip's engine design, emission control equipment and the prevailing statutory limitations
    in t h e areas in which the fuel will be used.
                                                                                                       ISO 821 7:20 1 0(E)



                                                        Annex D
                                                     (informative)

                                                Hydrogen sulfide



 H2S is a highly toxic gas and exposure t o high vapour concentrations is hazard ous, and i n extreme cases can
 b e fatal. At very low concentrations, the gas has the characteristic smell of rotten eggs. However, at h ig h er
 concentrations, it causes a loss of smell, headaches and dizziness and at very high concentrations is
 immediately fatal.
                                                                                                              ·




H2S can be formed during the refining process and can evolve from the fuels in storage tanks, i n product
barges and customer tanks. H2S can be present in both liquid and vapour phase and the degree and speed of
partitioning between the liquid and vapour phase depend on several factors, e.g. the fuel c hemistry,
temperature, viscosity, revel of agitation, storage time, heating applied, a mbient conditions, tank shape, ulla g e
and venting.

Contact with H2S vapours can occur when personnel are exposed to fuel vapours, such as whe n dipping
tanks, opening tank hatch covers, entering empty tanks, from vent/vent pipes when tanks are being filled
and/or heated, in purifier rooms, breaking into fuel lines and during filter changing operations.

The risks are highlighted in Material Safety Data Sheets (MSDSs) and the dangers presented to h e alth a n d
exposure guidelines are documented. A useful reference g u idance is provided i n Section 2.3.6 o f ISGOTTI 1 1 J.
There are many other sources of information regarding H2S but few are marine specific.

Th e liquid-phase limit stated in this fourth edition of this I nternational Standard is designed to provide a n
improved margin o f safety over the previous edition. This limit alone does not constitute a safe level or
eliminate the risk of very h ig h levels of H2S vapour being evolved i n enclosed spaces.

Reference is made to footnote c in Table 'l and footnote d in Tab l e 2 that specify the date for the
implementatio n of the l i m it o f H2S in liquid phase. The reasons for the implementation date not being i n line
with the publication of this I nternational Standard are


     to provide adequate time


          for the development of a precision statement for distillate fuels in I P 570, the completion of which is
          anticipated before the implementation date,


          for tl1e world-wide d issemination and application o·f the new test method IP 570,


          for the industry to engineer, procure and construct facility modifications, where required, in order to
          comply with the limit;


     to avoid fue l supply disruption in the intervening period.


The inclusion i n this I nternational Standard of an H2S in l iquid phase l imit of 2,00 mg/l<g in the fuel direction a l l y
reduces the risk o f H 2 S v a p o u r exposure. However, it is critical that s h i p owners and operators conti n u e to
maintain appropriate safety processes and procedu res designed to protect the crew and oth e rs (e.g .
surveyors), who c a n be e)(posed to H2S vapour.




                                                                                                                                (
    . . ISO 821 7:201 0(E)




                                                                   Annex               E
(                                                               (informative)

                                                             S pecific energ y



     E;1    Specific energy Is not controlled i n the manufacture o f fuel except i n a secondary manner b y t h e
     specification of other properties.

     E.2 For residual fuels, net specific energy, QRnP.• and gross specific energy, QRgv• both expressed in
     megajoules per kilogram, can be calculated with a degree of accuracy acceptable for n o rmal purposes from
     Equations {E. 1 ) and (E.2)I6l, respectively:


          QRnp = (46, 704 - 8, 802p1 5 2 · 1 0 -6 + 3, 1 67p1 5              - io-3)·
                                                                                                                       (E.1 )
          [1 - 0, 0 1 (ww +   w8   + w5 )] + 0 , 0 94 2w5 - 0, 024 49ww



                                                                                                                       (E . 2 )

    where


         P1 s   is the density at 1 5 oc, expressed in kilograms per cubic metre;


         Ww     is the water content, expressed as a mass percentage;
(
         Wa     is the ash content, expressed as a mass percentage;


         Ws     is the sulfur content, e)(pressed as a mass percentage.

    NOTE         For the purpose of rapid estimation, the net specific e nergy of residual fuel can be conveniently read from
    Figure E.1 , which has been derived from Equation (E.1). However, the values obtained from the graph are only
    approximate.

    lE.3 For distillate fuels, net specific energy, QonP.• and g ross specific energy, Qogv• both expressed in
    megajoules per kilogram, can b e calculated with a deg ree of accuracy acceptable for n ormal purposes from
    Equations (E.3) and (E.4), respectively:


         Qonp   =   ( 46,423 - 8,792p., 5 2   · 1 o -6   + 3 , 1 70Pis   ·         )
                                                                                   3
                                                                             '1 0 - ·
                                                                                                                       (E.3)
         [1 - 0 , 01 (ww +    w8   Hv5)] + 0,094 2ws - 0,024 49ww


                                          2          -6) r·_1 - 0, 0 "l (ww + w3 + ws )
         Qogv "" 5 1 ,9 1 6
                    (          8 , 79 2P1 5   · 10       ·
                                                                                           J + 0,094 2w5               (E.4)


    where

        p1 5    is the density at ·1 5 o c, eJ<pressed in kilograms per cubic metre;


        ww      is the water content, expressed as a mass percentage;


        wa      is the ash content, e)(pressed as a mass percentage;


        w5      is the sulfur content, expressed as a mass perce n tage.
                                                                                                              ISO 8217:201 0(E)



                        y


                    1 060




                    1 040




                    1 020




                    1 000




                      980




                      960




                      940




                     920                                                                                                                /




                     900




                     880




                     860




                     840




                     820 �--k---�--�--�����---�
                            o                             2              3                 4                  s   X
�'\ey
X       sulfur concentration, el<pressed in percent mass fraction
Y   density at 1 5 •c, expressed in !diagrams per cubic metre


NOTE           To correct for ash and water, subtract 0,01    QRnp(wa + ww)   from the net specific energy,   QRnp•   read fro m !his
graph.

                                                                                                                                        (
             Figure E.1 - Net specific energy of •·esidual fuel expressed             in megajoules par kilogram
     ISO 8217:201 0(E)



                                                           Annex F
(                                                         (informative)

                         Ignition characteristics of residual m a ri ne fuels




     F.1 Application

     The ignition and combustion characteristics of a residual fuel i n a diesel engine is dependant on the particular
     type, design, operating and engine condition, load profile and the chemical properties of the fuel oil.

    The Calculated Carbon Aromaticity Index (CCAI) is determined from the density and viscosity of a residual
    fuel and, whi lst it does not provide information related to the combustion characteristics of residual fuel, it does
    provide an indication of the ignition delay. CCAI has been included in order to avoid residual fuel oils with
    uncharacteristic density viscosity relationsh ips, which can lead to an extended ignition delay.

    The CCAI value is calculated in accordance with Lewis, et al. , using Equation (F. 1 ):


                                    [   (
          CCAI = P15 - 81 - 141 - lg lg v + 0,85   )] - 483 · lg T + 2 7 3
                                                                ____                                                 ( F. 1 )
                                                                   323

    where

         T      is the temperature, expressed in degrees Celsius, at which the kinematic viscosity is determined;

         v     is the kinematic viscosity at tem perature T, expressed in square mil!imetres per second; p1 5 is t h e
               density a t 1 5 oc, expressed in kilograms p e r cubic metre;

         lg     is the logarithm to base 1 0.

    NOTE 1     In this International Standard, marine distillate categories DMX, DMA, DMZ and DMB (see Table 1) have a
    minimum s pecified cetane indel(; see ISO 4264. This provides a better approximation of ignition quality than the CCAI
    parameter, which was primarily developed for use with residual fuels of the type specified in Table 2.

    NOTE 2     Work is continuing in a n umber of countries to identify alternative techniques to determine the overall
    combustion behaviour of residual fuels.

    I n an attempt to address both ignition and combustion characteristics of a residual fuel, a standard test
    method has been established using a constant volume combustion chamber (CVCC); see IP 541 . Whilst it has
    been recognized that fuels with similar densities and viscosities (i.e. similar CCAI's), can have significantly
    different Ignition and combustion properties, worf< continues to re late tlle characteristics derived from
    I P 541 [ 12! with both fuel quality and in-service experience.

    Most ships today are uni-fuel ships; hence, the engines wit11 less tolerance towards ignition and combustio n
    quality discrepancies should be tal<en into consideration when residual fuels are being ordered.

    The International Council on Combustion Engines, C I MAC, is developing guidelines regarding ignition and
    combustion quality recommendations for diesel e ngines.



    F.2 Usa of the nomogram

    For the purpose of a rapid estimation, the CCAI value of a residual fuel can be conveniently read from
    Figure F. 1 , which has been derived from Equation (F. 1 ), by means of extending a straight line connecting tile
    axes of viscosity, expressed in square millimetres per second, at 50 oc (see A i n Figure F.1} and density,
                                                     .i
                                                                                                 ISO 821 7:201 0(E)




    expressed in kilograms per cubic metre, at 15 oc (see B in Figure F. 1 ) to the CCAI   axis (see C in Figure F.1 ).
    However, the values obtained from Figure F.1 are only approximate.
                                                                                                                              (
                          A                                                   B                         c
                                                                        820




                                                                        840


                      4

                                                                        860
                                                                                                            800
                      5


                                                                        880                                 810
                      6



                                                                                                            820
                                                                        900
                     8

                     9                                                                                      830
                 10                                                     920

                                                                                                            840


                                                                       940
                 15
                                                                                                            850


                20
                                                                       960                                  860

                25
                                                                                                                          (
                30                                                                                          870
                                                                       980
                35
                40
                                                                                                            880

                                                                     1 000

                                                                                                            890

                75
                                                                     1 020
               1 00



                                                                     1 040
               150




                                                                                                         930


              750

             1 000


&'l:ey
A        kinematic viscosity at 50 oc, expressed in square milllmetres per second
B        density at 15°C, 6)<pressed in !<ilograms per cubic metre
C        CCAI

                                        Figure F.1 - Nomogram for deriving CCA9                                           (
            . ISO 8217:201 O(E)




             F.3       Calculation of CCAI precision
(       -    The reproducibility of the CCAI value of a particular residual fuel is dependant on the reproducibility, R, of t h e
             density a n d viscosity values from which that CCAI value has been calculated. T h e interaction o f these CCAI
             factors is such that the highest positive CCAI reproducibility is achieved when the reproducibility for density is
             added to the density value and the reproducibility for viscosity is subtracted from the viscosity value.

             The curve of CCAI reproducibility plotted against viscosity is g iven in Figure F.2. The reproducibility of density
             is a constant (independent of the density value) and, therefore, the CCAI reproducibility varies only with the
             viscosity of the fuel. The application of the reproducibility is covered in Annex L.


             y
             3,8 +------ ·--------,


             3,6 -


             3 ,4


             3,2


             3


             2,8


    .        2,6 ·
(-.
             2,4

             2,2

            2                                                                                    ·-.---T-�-�
                                                                                                         --�-- -
                                                                                                               � ·
                   0        so     1 oo      1 50   200   2so     3oo     350        4oo   4so   soo   55o   6oo   65o   ?oo   X

            Key
            X       viscosity at 50 •c, expressed in square miJiimetres per second
            Y       CGAI   reproducibility


                                             Figure F.2 - Plot of CCAI reproducibility against viscosity




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                                                                                            ISO 821 7:201 0(E)




                                                 Annex G
                                               (informative)

                                                F lash point



The flash point value is not a physical constant but is dependent o n the test method, the apparatus and the
procedure used. I n this International Standard, the test method described in ISO 2719 should used for both
distillate and residual fuels. Flash point is o n e of the valid indicators of the fire hazard posed by the fuel.

For residual fuels, available information shows that flash point on its own is not a reliable indicator of the
flammability conditions that can exist with in the headspaces of storage tanks. This means that residual fuels
can have the potential to produce a flammable atmosphere in the tank headspace, even when stored at a
temperature below the measured flash point. Consequently, residual fuels should be considered as potentially
hazardous and capable of producing light hydrocarbons that can result in tank headspace atmosph e res being
near, or within, the flammable range. Appropriate precautions are necessary, therefore, to ensure t h e safety of
people and property.


Further information is contained in ISO/TR 29662[81 and CEN/TR 1 51 38:2006[91. Additional advice o n
precautionary measures is given i n The Flammability Hazards[10] and in International Safety Guide for Oil
Tankers and Tetmlnafs[1 11.




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     ISO 821 7:201 0(E)




                                                      Annex H
                                                    (informative)
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                                                       Acidity



     Fuels with high acid numbers arising from acidic compounds occasionally cause accelerated damage to
     marine diesel engines. Such damage is found primarily within the fuel injection equipment.

     Testing fuels for acid number, AN, (formerly known as total acid n um ber or TAN) by ASTM 0664-09 can give
     indications as to the likely presence of acidic compounds. Although all fuels have a naturally occurring,
     measurable acid number, these are generally (but not always) less than 0,5 m g KO H/g for distillate fuels a n d
     generally (but n o t a lways) less than 2 , 5 m g KOH/g for residual fuels.

     However, fuels manufactured from naphthenic crudes can have an acid number that, while greater than those
     stated in the tables, are acceptable for use. Confirmation that a fuel was manufactured from naphthenic
     crudes can be established by non-standard, specialized detailed analysis. I n such circumstances, it is t h e
     responsibility o f the supplier a n d the purchaser t o agree on a n acceptable acid number.
                                                                                              ·




     Acid number levels significantly higher than those stated above can indicate significant amounts of acidic
     compounds and, possibly, other contaminants. However, acid numbers below the values stated above do n o t
     guarantee that the fuel is free from problems associated with t h e presence o f acidic compounds. There is n o
     currently recognized correlation between acid number test results a n d t h e corrosive activity o f a fuel.

      A fuel in which a strong acid species is detected, even at a low level not detectable by the standard test
      method, SAN, as described in ASTM 0664-09, is non-compliant with this I n ternational Standard, as there is a
(-   ·con·elation between the presence of a strong acid and the corrosive activity of a fuel.
                                                                                                ISO   821 7:201 0(E)



                                                     An nex I
                                                  (informative)                                                         (
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                                          S odium and vanadium




 1.1    Introd uctio n

 All residual fuels contain some metallic species, either those that are naturalfy present such as vanadiu m ,
 sodium, calcium and n ickel, o r those introduced primarily from external sources such as sodium, aluminiu m ,
 silicon and iron. When a fuel i s b u rned, some of these metals a r e converted into solid particles of oxides,
 sulfates, or more complex compounds, collectively known as ash. At certain temperatures, these solid ash
 particles become partly fluid and, in this state, can adhere to com ponents in a combustion system, if the
 component surface temperatures are high enough. These adhering ash deposits can cause d amage to
 components (piston crowns, exhaust valves, turbocharger blade s urfaces in diesel engines and the waterwali,
 s uperheater and reheater tube surfaces of boilers), either by a process termed "hot corrosion" or by other
 mechanisms. The temperatu re at which the ash particles start to become fluid a n d to stick to surfaces, often
 referred to as the "stiction" temperature, is lowest for ashes that a re rich in vanadium and/or sodium. It is for
 this reason that particular attention is paid to the amounts of these m etals in fuels.



 1.2   Ash melting poi nts

Melting points of ashes vary greatly depending o n ash constituents. For example, sodium vanadyl vanadate,
as an uncontaminated compound, has a melting temperature of 535 oc. However, this can be depressed
further by solution of other metal oxides derived from corroding surfaces. For this reason, ash melting
tem peratu res well below 400 oc are theoretically possible. A sodium/vanad i u m ratio of 1 :3 is generally
claimed to yield the lowest ash-melting temperature. This is applicable to a simple two-component
(Na2S0 4/ V205) ash com plex. However ashes derived from the combustion o f residual fuel oils are complex
m ixtures of compounds, which also incorporate compounds of calcium, nickel, silicon and aluminiu m , together
with many other metals at various concenirations. All of these additional metals tend to influence ash-melting
temperatures, i n some cases exerting a beneficial effect by malcing the ash less prone to adhere to s urfaces,
while in other cases having the opposite effect.


Tf1e 1:3 sodium/vanadium ratio assumes increasing importance as the vanadium content of the fuel oil rises,
because the ash becomes i ncreasingly vanadium-rich. While vanadium levels in some residual fuels can
exten d up to around 600 mg/!<g, other metals do not usually reach such levels and, therefore, tl1eir influence
on "stiction" temperatures is limited. Also, at high van ad ium levels, the total ash burden is greater, thu s
exacerbating any problems that c a n arise due t o ash deposi1ion.

It is not uncommon to find that some ship-owners stipulate the maximum sodium level to be o ne-third of the
actual vanadium level. It is obvious from the above that such a generalized limit is not well fou n de d
scientifically a n d i s unnecessarily restrictive, particularly at lower vanad ium levels (less than 1 50 mg/l<:g).



«.3    Vanadil.ll m

Vanadium is a natural component of fuel oil and is present as complex chemical molecules containing oth e r
elements. Such molecules are present in solution in the residual fuel oil. Thus, there are n o practical methods
by wlllch vanadium can I:Je removed from fuel oil on board ship. The only practical way to restrict vanadium is
by l im itin g Its content What constitutes a realistic limit is dependent primarily o n operational experience a n d
the known sensitivity of the particular e ng i ne o r boiler to ash-related probl ems
                                                                                  .
        ISO 821 7:201 0(E)



        1 .4   Sodium
    (   ·The usual source of sodium is seawater contamination . However, some sodium can be present in such a form
         that cannot be removed by on-board treatment. Typically, a 1 % mass fraction of seawater adds about
         1 00 mg/kg to the sodium content of a fuel, while fuels that are essentially water-free normally have a sodi u m
         content between about 1 0 mg!kg a n d 50 mg/kg, rarely significantly h igher.

        U n lil<e vanadium, sodium is not usually present in the fuel in a n oil-soluble form. In most cases, high sodium
        levels are associated with seawater contamination; hence the amount of sodium removed is directly related to
        the amount of water that can be removed in settling tanks and by centrifugal treatment. Very occasionally, the
        sodium hydroxide used in the refining process can be the source of the contaminant.



        1.5    Engineering solutions to the pro b lem

        The engineering solution to the control of hot corrosion is primarily achieved by a combination of control of
        metal surface temperature and selection of alloys tha t have the optimum combination of physical properties
        and hot corrosion resistance.

        Modern engine design aims to prevent the ash from adhering to the critical components. Examples of this are
        more efficient cooling of valve seats and faces and the use of valve rotators to even out the thermal load o n
        t h e valves. A s a result o f all the advances, modern engine designs are m uch more tolerant of vanadi u m
        and/or sodium than earlier designs.




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                                                                                            ISO   8217:2010(E) -        .




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                                               (informative)
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                                              Catalyst fines
                              (
                              '




The main source of potentially abrasive particles in bunker fuel Is catalyst fines, which for many years have
been controlled by the limitation of aluminium plus silicon, set at a level of 80 mg/kg.

Engine b uilders have recommended that, after on-board treatment, the fuel entering the engine should contain
less than 1 5 mg/kg.

I n this I nternational Standard, the revised limits for aluminium plus silicon have been applied to the residual
fuel grades in Table 2. These new specification limits reflect an overall operational cleaning efficiency lower
than that previously determined o n-board a ship.

The aluminium plus silicon levels in Table 2 are intended to limit catalyst fines to a level that ensures a
minimal risk of abrasive wear, given that adequate fuel pre-treatment is achieved, e.g. by maintaining the
centrifugal purifier inlet temperature at a constant value, usually 98 oc, and that the fuel-cleaning system
(tanks, centrifuges and filters) operate u nder optimum conditions.

Consequently, in order to achieve the n ecessary reduction in catalytic fines, efficient fuel pre-treatment is of
paramount importance; see Clause 1 .



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          ISO 8217:201 0(E)



                                                            Annex K

(                                                         (informative)

                                                   Used l ubricating oils



          Used lubricating oils (ULOs), which are predominantly s p e n t motor vehicle crankcase oils, have been a d d ed
          to bunl<er fuels in some parts of the world for more than 25 years.

          The addition of U LO as a fuel blend component collected from inland sources with no or i n adequate
          environmental regulations can provide a route for other waste materials to enter the residual fuel pool.


          Potentially, ULO is quite a variable material but, as noted above, it is comprised .predominantly of used veh icle
          crankcase oils. Such oils contain significant amounts of detergent and anti�wear additives. Detergent additives
          are based mainly on calcium. Whilst the anti-wea r additives are usually zinc-phosphorus com pounds, some
          are zinc-free. Therefore, the principle used in setting limits for this International Standard is that the residual
          fuel i s considered to contain ULO if either of the two groups of elements calcium and zinc or calcium a n d
          phosph orus are above t h e l imits specified in Table 2 .

          Limits for the selected elements of zinc, phosphorus and calcium have been set a t levels t11at are as l o w as
          possible, taking into account both the background levels of these elements in residual fuel free from ULO and
          the reproducibility of the test methods. It is, therefore, not possible to set a zero u pper limit on these
          "fingerprint" elements.

          On the basis of extensive statistical reports, the combination of these elements would not trigger the Incorrect
(   ___   identification of ULO.

          The lim its on zin c , p hosphorus and calcium given in Table 2 serve as the basis for determining whether or not
          a fuel meets the specification, but do not Imply that a fuel that is judged to contai n ULO is necessarily
          unsuitable for use.




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                                                                                                           ISO   821 7:201 0(E)



                                                          Annex L
                                                       (informative)                                                               (
                             Precision and interpretation of test results




 L 1 Introduction

Complaints relative to the q u ality of fuel can be categorized generally as either a problem that occurs on board
o r a dispute over the acceptability of the p rodu ct prior to its use. Whichever the case, the fuel should be tested
to ascertain its nature. When there is a dispute over whether a test res ult meets or exceeds a specificatio n
limit, reference i s made t o t h e processes contained in the relevant sections of I SO 4259.



l.2 Use of ISO 4259

Table 1 and Table 2 of this I nternational Standard specify m aximum and/or minimum limits of the tru e value of
a given property as measured by the specified test method.

The true value, as defined by ISO 4259:2006, represents the average of an infinite n umber of single results
obta i n ed by an infinite n umber of laboratories. A fuel test, run a n u mber of times at the same laboratory, by
the same person, on the same sample, under the same conditions, might not necessarily yield exactly the
same answer for each test run. These variations are quantified for each test method as repeatabi l ity, r. When
two different laboratories test the same sample using the same method, the variation is called reproducibility,
R
                                                                                                                                   (
No test method can measure the true value with 1 00 % certainty. Each test method has a band of probability
referred to as the test precision. This means that if the test is carried out exactly as defined in the test method
by an operator in a laboratory that fully meets the requirements of an accreditation standard such a s
I S O 1 7025[1 3], t h e result falls within t h e precision band of the test method. The precision of stan d ard test
methods is determined using procedu res defined within the ISO 4259.


ISO 4259:2006, Clause 9, provides information 1o allow the supplier or the recipient of fuels to judge t h e
q uality of a product with regard t o the specification when a single result i s available.



L3 Recipient with            a   sing�a test •·asu it

A recipient who has no othe r information on t11e true value of a characteristic other than a single test resu lt can
consider that the product fails the specification limit, with 95 % confidence, o n ly if the test result is such that

a)   in the case of a maximum specification l im it, the test result is g reater than the specification limit plus
     0,59 x R;

b)   In the case of     a   minimum specification limit, the test result ls less than the specification firnit minus
     0,59 x R.

EXAMPLE           The recipient has ordered a fuel to ISO-F-RMG 380 specification in which

     the maximum specification limil is equal to 380 mm?.fs at 50 oc;

     the reproducibility, R, of the test method (ISO 3'1 04) is equal to 0,074   x   380 mm2/s at 50 •c.                           (
Therefore, the recipient can consider that the product fails the specification, witll 95 % confidence, if the single test result
is greater than 396,59 mm2/s at 50 "C.
    ISO 821 7:201 0(E)




    L.4 S u p plier with       a s i n gle test result
(   A supplier who has n o other information on the true value of a characteristic other than a single test result can
    consider that the product meets the specification limit, with 95 % confidence, only if the test result is such that

    a)   i n the case of a maximum specification limit, the test result is less than or equal to the specification l im it
         minus 0,59 x R;

    b)   in the case of a minimum specification limit the test result Is greater than or equal to the specification l i m it
         plus 0,59 x R.

    The use of the above equations is for the g uidance of the supplier and should not be interpreted as a n
    obligation. A reported value between the specification limit and t h e limit from L.4 a) o r L.4 b ) i s n ot proof of
    non-compliance.

    EXAMPLE          The supplier has tested a fuel to ISO-F-RMG 380 specification in which


         the maximum specification limit is equal to 380 mm2/s at 50   •c;

         the reproducibility, R, of the test method (ISO 31 04) is equal to 0,074 x 380 mm2/s at 50 •c.


    Therefore, the supplier can consider that the product meets the specification, with 95 % confidence, if the single test result
    is less than or equal to 363,41 mm2/s at 50 ·c.




    L.5 Resolving disputes

    ISO 4259:2006, Clause 1 0, gives the appropriate procedure if the supplier and recipient cannot reach
(   agreement about the quality of the product However, this procedure covers only the situation where each
    laboratory is analysing fuel samples that are subdivisions from one representative sample.




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                                                                                           ISO 8217:201 0(E)



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